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  14                      UNITED STATES DISTRICT COURT
  15                      CENTRAL DISTRICT OF CALIFORNIA

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                                           )
  17                                       )     Case No. CV14-8961-PA (SSx)
            UNITED STATES OF               )
  18        AMERICA,                       )     PLAINTIFF – RELATOR DAVID
            ex rel.                        )
  19                                       )     VATAN’S OPPOSITION TO
            DAVID VATAN, M.D.              )     DEFENDANT’S MOTION TO DISMISS
  20        Plaintiff-Relator,             )     SECOND AMENDED COMPLAINT
                     v.                    )
  21                                       )     UNDER FED. R. CIV. P.RULES
                                           )     12(B)(6) AND RULE (9)(B)
  22        QTC MEDICAL SERVICES,          )
  23        INC, et.al.,                   )
                                           )     Hearing: February 8, 2016
                         Defendants.       )     Time: 1:30 PM
  24                                       )     Place: Courtroom 15, Los Angeles –
  25                                       )
                                           )     Spring Street Courthouse
  26                                             Judge: Hon. Percy Anderson

  27
                                                PLAINTIFF'S MEMORANDUM IN OPPOSITION TO
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   1                                             I.

   2                                   INTRODUCTION

   3        Relator David Vatan has filed this action to recover damages and civil
   4    penalties on behalf of the United States against Defendants for presenting
   5    claims for payment to the Department of Veterans Affairs (“VA”) that were
   6    both factually and legally false and submitted in conscious disregard and/or
   7    deliberate ignorance of its obligations under contracts with the Department of
   8    Veterans Affairs.
   9        The contracts at issue were not "garden variety" government procurement
  10    contracts. As fully and succinctly detailed in the Second Amended Complaint
  11    ("SAC"), these contracts were in partial fulfillment of the VA's legally
  12    mandated requirement to review the claims files of Vietnam veterans for
  13    possible entitlement to new or increased benefits arising from exposure to
  14    Agent Orange during the Vietnam War.
  15        The VA had little or no discretion over how these reviews were to be
  16    performed, the applicable standards for the reviews, and standards relating to
  17    the evidence relevant to a "claim." During the course of its longstanding
  18    (approximately 30-year) contractual relationship to deliver services to the
  19    Department of Veterans Affairs, Defendant QTC received a contract
  20    modification and work order to deliver services consisting of "Independent
  21    Medical Opinions" concerning potential entitlements for new or further
  22    benefits due to these Vietnam Veterans. These contracts required very specific
  23    forms of reviews of the veterans' claims files in order to ascertain, and support
  24    a physician’s review, constituting an Independent Medical Opinion (a term of
  25    art specifically used in VA regulations as detailed in the SAC). This opinion
  26    and the reviews, to be rendered by competent, qualified medical authority, was
  27    to determine whether veterans who were exposed to Agent Orange during the
  28    Vietnam War may possibly contain evidence supporting eligibility for new or
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   1    increased benefits associated with conditions related to their exposure. The

   2    review resulted in a decision to refer (or not refer) the file to the VA for further

   3    review and adjudication.

   4        Despite their ostensible similarity, the two projects /contracts were in fact

   5    quite different. The first one (the IHD/BCL/PD/PCL review) dealt with

   6    veterans who had been service-connected and granted benefits previously for

   7    these conditions. However, they may have been entitled to increased benefits

   8    due to earlier effective dates or because their earlier approval had been only

   9    secondary to another condition. By contrast, the Peripheral Neuropathy review

  10    was necessitated due to a sweeping redefinition of the condition itself. Thus the

  11    review needed to be more comprehensive and reflect symptoms consistent with
  12    the condition, whether or not formally diagnosed, and involve a review of very
  13    old medical records (including service treatment records as old as the Vietnam
  14    era itself).
  15        These reviews were to be performed pursuant to specific contractual
  16    obligations, and pursuant to VA guidance documents as well as regulations
  17    incorporated by reference. The documentation of the tasks was the accurate
  18    and truthful completion of a review "checklist" for each veteran’s claim file
  19    reviewed pursuant to the contract. The completion of the checklist was not the
  20    sine qua non of the contract. It was merely the documentation of a substantive
  21    process that resulted in a physician’s Independent Medical Opinion.
  22        The nature of the contract, however, contained a clear incentive for QTC to
  23    clear as many checklists as possible as rapidly as possible. QTC was paid on a
  24    per file completed basis. Claims file analysts were paid on an hourly basis.
  25    Physicians were paid per signature on a file. Profitability could be increased
  26    by simply “speeding up the assembly line” in deliberate disregard of the effect
  27    of that action on the quality of the product coming out the other end of the line.
  28         In furtherance of the scheme, QTC engaged in the specific conduct as
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   1       outlined in the complaint. QTC created a system to complete these files and

   2       bill for the files in deliberate ignorance of whether or not the substantive

   3       reviews required by the contract and as explicitly represented in the required

   4       documentation were in fact complied with or supportable.

   5           The SAC in issue in Defendants’ Motion1 more than adequately details (a)

   6       this scheme, (b) the personnel who rewarded, created, and executed the

   7       scheme, (c) the time frames in which the scheme was carried out, (d) the

   8       location, and (e) how the specifics of the scheme occurred. It also details

   9       examples of defective performance (despite Defendants' efforts to

  10       compartmentalize functions such that no one person – such as Relator—would

  11       have enough evidence at hand to articulate a case such as this one).
  12           It further details affirmative actions on the part of supervisory personnel in
  13       QTC to obscure, hide and ignore obviously defective performance, and an
  14       intentional effort to silence and retaliate against those who would point out
  15       these glaring and materially defective performance issues.
  16           This case is first and foremost based upon factually false claims for
  17       payment submitted to the Department of Veterans Affairs. The act of
  18       submitting the claim itself constitutes a representation to the government that
  19       the underlying service for which the claim was submitted was performed and
  20       rendered pursuant to the material provisions of the contract. Based upon all the
  21       evidence and indicia as alleged in the complaint, these representations and the
  22   1
         Defendants attempt to make an issue of the fact that this is a Second Amended
  23   Complaint. The original complaint was amended while the case was still under
  24   seal, primarily to add a retaliation cause of action because Defendant had
       terminated Relator. The SAC was drafted and filed as a cooperative effort by
  25   Relator’s counsel to address issues raised by Defendants’ counsel during the “meet
  26   and confer.” It was, of course, no admission that the First Amended Complaint was
       inadequate. Defendants invite this court to draw such an inference, thus
  27   undercutting the entire purpose of good faith compliance with the rule. The Court
  28   should firmly reject Defendants’ effort to use cooperative results of a ‘meet and
       confer’ in this way.
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   1    implied representations in the act of billing the government for the service

   2    were false, and were both created and used by QTC in reckless disregard of the

   3    truth or falsity of the actual performance of the underlying service. The

   4    records (such as the checklist) were false because they contained objectively

   5    false statements and were knowingly created, constructed, executed, and

   6    entered into the QTC database for billing, in reckless disregard of whether they

   7    were true or false.

   8        The vast bulk of Defendants’ motion and argument consists of challenges

   9    to interpretations of evidence and attempts to refute evidentiary examples and

  10    instances contained in the SAC. They do so by falling back on the idea that

  11    Relator – due to the functional compartmentalization – was not supposed to
  12    have access to the contracts or the specifics of an individual bill, or even have
  13    access to information necessary to support a claim such as this case.
  14    Nonetheless, Relator does have that information and, when also supported by
  15    reasonable, plausible inferences from that information, it more than adequately
  16    states claims under Fed. R. Civ. P. 12(b)(6) and 9(b).
  17        Further, the fact that Defendants are readily able to argue sufficiency of
  18    evidence, and interpretations of evidence, clearly demonstrates that Defendant
  19    has, through the SAC, clear knowledge of the nature of the fraud with which it
  20    is charged and the ability to defend against it. Indeed, Defendants’ argument
  21    demonstrates that they, in fact, already have the information necessary to
  22    respond to the complaint. While Defendants’ arguments may or may not be
  23    appropriate at a summary judgment stage, they fail as a motion to dismiss at
  24    this stage of proceedings.
  25        Defendants have moved this Court to dismiss Relator’s SAC, claiming that
  26    Relator has failed to state a cause of action under the FCA. In their Motion,
  27    Defendants focus on what the Complaint does not say, largely ignoring or
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   1       misstating what is alleged and the related facts,2 and misconstruing the

   2       theories under which the case has been brought.

   3           A detailed review of the Complaint reveals that Defendants’ Motion to

   4       Dismiss should be denied.

   5
   6                                               II.

   7                                 STANDARDS OF REVIEW

   8           A. Rule 12(b)(6): Dismissal under Rule 12(b)(6) is appropriate only

   9       where the complaint lacks a cognizable legal theory or sufficient facts to

  10       support a cognizable legal theory. Mendiondo v. Centinela Hospital Medical

  11       Center, 521 F.3d 1087, 1104 (9th Cir. 2008). A claim has facial plausibility
  12       when the plaintiff pleads factual content that allows the court to draw the
  13       reasonable inference that the defendant is liable for the misconduct alleged.
  14       Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
  15           In considering a 12(b)(6) motion to dismiss, "all well-pleaded allegations
  16       of material fact are taken as true and construed in a light most favorable to the
  17       non-moving party." Wyler Summit Partnership v. Turner Broad. Sys., Inc., 135
  18       F.3d 658,661 (9th Cir. 1998). The Court “assume[s] that the facts as alleged
  19       are true, and examine[s] only whether relators’ allegations support a cause of
  20       action under the False Claims Act...” U.S. ex rel. Hendow v. Univ. of Phoenix,
  21       461 F.3d 1166, 1170 (9th Cir. 2006)(citing Zimmerman v. City of Oakland, 255
  22       F.3d 734, 737 (9th Cir. 2001). There is a strong presumption against
  23
  24   2
        For example, Defendants claim QTC “voluntarily” created the two-tier review
  25   system involving the claims file analysts’ review followed by the physician review.
  26   However, the VA-created checklists provided with the first contract modification
       contain this two-tier system with separate signature blocks for the CFA and
  27   physician. Regardless of the system employed, it was the “Independent Medical
  28   Opinion” of the physician that was a material deliverable under the contract—not a
       perfunctory physician’s signature.
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   1    dismissing an action for failure to state a claim. See Gilligan v. Jamco Dev.

   2    Corp., 108 F.3d 246, 249 (9th Cir.1997) (internal citation omitted).

   3         B. Rule 9 (b): Complaints brought under the FCA must comply with the

   4    requirements set forth in Rule 9(b): "In all averments of fraud or mistake, the

   5    circumstances constituting fraud or mistake shall be stated with particularity.

   6    Malice, intent, knowledge, and other conditions of a person's mind may be

   7    alleged generally." Bly-Magee v. California, 236 F.3d 1014, 1018 (9th Cir.

   8    2001). In its overall application, compliance with Rule 9(b) requires that the

   9    plaintiff be "specific enough to give defendants notice of the particular

  10    misconduct which is alleged to constitute the fraud charged so that they can

  11    defend against the charge and not just deny that they have done anything
  12    wrong." Neubronner v. Milken, 17 F.3d 666,672 (9th Cir. 1993) (internal
  13    citations omitted).
  14         The Ninth Circuit has determined that Rule 9(b) does not require a
  15    plaintiff to allege, in detail, all facts supporting each and every instance of
  16    fraud that occurred over a multi-year period. See United States ex rel. Lee v.
  17    Smithkline Beecham, Inc., 245 F.3d 1048, 1051 (9th Cir.2001); Cooper v.
  18    Pickett, 137 F.3d 616, 627 (9th Cir.1997).
  19         Rule 9(b) looks to an overall view of the Complaint as a whole:
  20              The federal rules do not require a plaintiff to provide a factual basis
  21            for every allegation. Nor must every allegation, taken in isolation,
  22            contain all the necessary information. Rather, to avoid dismissal under
  23            Rules 9(b) and 8(a), plaintiffs need only show that, taken as a whole, a
  24            complaint entitles them to relief. See, e.g., Twombly, 550 U.S. at 554-
  25            56. The complaint must provide enough information to describe a
  26            fraudulent scheme to support a plausible inference that false claims
  27            were submitted." United States ex rel. Lemmon v. Envirocare of Utah,
  28            Inc., 614 F.3d 1163, 1169 (10th Cir. 2010).
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   1         While the commonplace parlance of claims of fraud state that the

   2    Complaint must be accompanied by “the who, what, when, where, and how of

   3    the misconduct charged,” United States ex rel. Ebeid v. Lungwitz, 616 F.3d

   4    993, 998 (9th Cir. 2010), “this is a pleading requirement, not an evidentiary

   5    burden.” Id. at 998-99 [Emphasis added].Thus, “it is sufficient to allege

   6    particular details of a scheme to submit false claims paired with reliable indicia

   7    that lead to a strong inference that claims were actually submitted.” Id.

   8    Importantly, “Rule 9(b) requires only that the circumstances of fraud be stated

   9    with particularity; other facts may be pled generally…” United States ex rel.

  10    Campie v. Gilead Scis., Inc., 2015 WL 106255, at *6 (N.D. Cal Jan. 7, 2015)

  11         C. The False Claims Act:
  12          (1) Purpose and reach: Congress expressly stated that the FCA should
  13    “reach all fraudulent attempts to cause the Government to pay [out] sums of
  14    money or to deliver property or services.” S. Rep. No. 99-345, at 9 (1986),
  15    reprinted in1986 U.S.C.C.A.N. 5266, 5274; see also United States v. Neifert-
  16    White Co., 390 U.S. 228, 232, 88 S. Ct. 959, 961 (1968) (“[T]he [FCA] was
  17    intended to reach all types of fraud, without qualification, that might result in
  18    financial loss to the government.”). “[A] false claim may take many forms,
  19    the most common being a claim for goods or services not provided, or
  20    provided in violation of contract terms, specification, statute, or regulation.”
  21    . . . S. Rep. No. 99-345, at 9, reprinted in1986 U.S.C.C.A.N. 5266, 5274.
  22    United States ex rel. Wilkins v. United Health Grp., Inc., 659 F.3d 295, 305-06
  23    (3d Cir. 2011).
  24          (2) Factual and Legal Falsity: False claims to the government can be either
  25   factual or legally false in nature. A claim is factually false when the claimant
  26   misrepresents what goods or services it provided to the government. United States
  27   ex rel. Campie v. Gilead Scis., Inc., 2015 WL 3659765, at *8 (N.D. Cal. June 12,
  28   2015). For example, “a certification that a company makes to the government is
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   1   factually false if it incorrectly describes the goods or services provided or requests

   2   reimbursement for goods or services never provided.” Id. “Factual falsity simply

   3   means a provider may not bill for something that it does not provide.” [Emphasis

   4   Added] United States ex rel. Guardiola v. Renown Health, 2014 WL 4162201, at

   5   *3 (D. Nev. Aug. 20, 2013).

   6         (3) Knowledge (Scienter): Liability under the False Claims Act requires

   7    that there be a “knowing” presentation of a false claim. 31 U.S.C. § 3729(a). A

   8    person demonstrates “knowing” with respect to information if he has “actual

   9    knowledge” of the information, or he acts in “deliberate ignorance” or

  10    “reckless disregard of the truth or falsity of the information.” Id. at 3729(b)(1).

  11    The FCA requires no proof of specific intent to defraud and does not require
  12    Relator to show Defendants acted with the “intent to deceive.” 31 U.S.C. §
  13    3729(b)(1)(B); Hooper v. Lockheed Martin Corp., 688 F.3d 1037 (9th Cir.
  14    2012). The “pertinent inquiry” is “whether, through the act of submitting a
  15    claim, a payee knowingly and falsely implied that it was entitled to payment.”
  16    United States ex rel. Lemmon v. Envirocare of Utah, Inc., 614 F.3d 1163, 1169
  17    (10th Cir. 2010).
  18        (4) Certification cases: "Certification" cases can arise in many ways, but
  19    silence by the Defendant when "certification" -- express or implied (as in the
  20    act of submitting a bill under a contract)-- is a material part of the contract
  21    constitutes such a 'certification'. “Courts infer implied certifications from
  22    silence ‘where certification was a prerequisite to the government action
  23    sought.’” United States v. Science Applications International Corporation, 626
  24    F.3d 1257, 1266 (D.C. Cir. 2010) (quoting United States ex rel. Siewick v.
  25    Jamison Sci. & Eng’g, Inc., 214 F.3d 1372, 1376 (D.C. Cir. 2000).
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   1
   2                                               III.

   3          THE SECOND AMENDED COMPLAINT (SAC) MEETS THE
           PLEADING REQUIREMENTS OF RULE 12(B)(6) AND RULE (9)(B).
   4
   5           As demonstrated below, Relator’s SAC fully complies with the
   6       requirements of Rule 12(b)(6) and Rule (9)(b). First, none of the elements pled
   7       in this case are based on pure speculation. All are supported by factual
   8       allegations and the reasonable inferences from those factual allegations.
   9            For example, the contents of the contract are not speculative. In its first
  10   pleading, Defendants attached four documents consisting of the “contract
  11   modification” (i.e. task orders or work orders) constituting the “contract” under
  12   which the services in issue were performed.3 The first of these documents
  13   constituted a broad contract modification, and the exhibit included the “cover
  14   sheet” for the contract and a list of modifications. This exhibit specified that the
  15   purpose of the modification was to provide “Independent Medical Opinion[s]”
  16   for the Nehmer review. The list of contract modifications also contains specific
  17   paragraph numbers and their relevant subject matter.
  18           Thus, while the Defendants provided some, but not all, of the relevant
  19   contract, they did provide a clear description of the relevant paragraphs. Relator
  20   subsequently located the “Sources Sought Notice / Request for Information
  21   (RFI)” relating to the renewal of the subject contract (SAC Exhibit 5). The RFI
  22   contains the entire contractual obligation for the Nehmer projects. The paragraph
  23   numbers, content, changes, etc. matched perfectly with the document provided
  24   by Defendants in filings with the court. Thus, there is at least a strong and
  25
  26
  27   3
        The fact that Defendants were readily able to do so more than demonstrates that
  28   they “they can defend against the charge” concerning the contract. Neubronner v.
       Milken, 17 F.3d 666,672 (9th Cir. 1993).
                                                    PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1   reasonable inference that the contract terms specified in the SAC are precisely

   2   those in issue in this case.4

   3             The nature of the scheme is not speculative and is based on Relator’s

   4       knowledge gained in the workplace. As fully detailed in the SAC, QTC’s

   5       contract required specific actions, certifications, and specific Independent

   6       Medical Opinions. In order to document those opinions and the reviews

   7       underlying the opinions, the VA produced relevant checklists that constituted

   8       the documentation of the substantive process. A completed checklist required

   9       verification of the accuracy of the review and the substance of the conclusion

  10       by a qualified medical expert.

  11             As detailed in the SAC, at the time of Relator’s hiring it was expected that
  12       up to 60 claims file analysts would be required to complete these substantive
  13       obligations. However, instead of hiring that many CFAs, the SAC alleges that
  14       Defendants instead chose to simply “speed up the assembly line” while
  15       consciously omitting any review, process, reward, or incentives relating to the
  16       accuracy or quality of the substantive performance. Only the speed and volume
  17       of charts completed was measured by QTC. No quality monitoring system was
  18       ever implemented.
  19        //
  20        //
  21        //
  22        //
  23        //
  24
  25   4
         Further, defendant does not claim that the contract terms specified in the SAC are
  26   wrong or untrue. They merely contend that Relator would have had no way to
       know those contract terms due to his position in QTC. Again, Defendants claim
  27   they had successfully compartmentalized functions to keep any individual from
  28   having enough knowledge to articulate a case. Nonetheless, the contracts and their
       requirements as specified in the SAC are not speculative.
                                                      PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1                                           IV.

   2          THE SAC MORE THAN ADEQUATELY, AND IN DETAIL,
           PLEADS A HIGHLY PLAUSIBLE SCHEME TO SUBMIT FALSE
   3                           CLAIMS.
   4
   5        Relator’s description of the QTC scheme, based on his duties in the
   6    workplace over a 15 month period, and supported by his observations and
   7    experiences of the operation of the scheme, more than adequately supports a
   8    plausible inference that the fraud was executed as described in the Second
   9    Amended Complaint.
  10         A simple example illustrates the nature of this case, the SAC, and the
  11    allegations pled by Relator.
  12                 By way of an example freed from the complexities of this case,
  13               consider a company that contracts with the government to supply
  14               gasoline with an octane rating of ninety-one or higher. The contract
  15               provides that the government will pay the contractor on a monthly
  16               basis but nowhere states that supplying gasoline of the specified
  17               octane is a precondition of payment. Notwithstanding the contract’s
  18               ninety-one octane requirement, the company knowingly supplies
  19               gasoline that has an octane rating of only eighty-seven and fails to
  20               disclose this discrepancy to the government. The company then
  21               submits pre-printed monthly invoice forms supplied by the
  22               government—forms that ask the contractor to specify the amount of
  23               gasoline supplied during the month but nowhere require it to certify
  24               that the gasoline is at least ninety-one octane. So long as the
  25               government can show that supplying gasoline at the specified
  26               octane level was a material requirement of the contract, no one
  27               would doubt that the monthly invoice qualifies as a false claim
  28               under the FCA despite the fact that neither the contract nor the
                                                 PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1                invoice expressly stated that monthly payments were conditioned on

   2                complying with the required octane level. United States v. Science

   3                Applications International Corporation, 626 F.3d 1257, 1266 (D.C.

   4                Cir. 2010)

   5        Similarly, a slight variation on this hypothetical is also self-evident:

   6    assume that the contractor, notwithstanding the ninety-one octane requirement,

   7    purchases wholesale gasoline or otherwise procures gasoline for delivery to the

   8    government, from whatever source is readily available, of random octane

   9    ratings or of no known octane rating. As in the above example, the company

  10    nonetheless submits monthly invoice forms that ask the contractor to specify

  11    the amount of gasoline supplied.
  12        Just as in the hypothetical above, “so long as the government can show that
  13    supplying gasoline at the specified octane level was a material requirement of
  14    the contract no one would doubt that the monthly invoice qualifies as a false
  15    claim under the FCA . . . .” Id. This is true, of course, because the contractor
  16    supplied the gasoline in reckless disregard of the contract requirements and
  17    submitted the claim in reckless disregard of its truth or falsity.
  18        In both the first and second version of the hypothetical, the government
  19    contracted to purchase gasoline of a certain octane. The supplier provided
  20    gasoline in complete disregard of whether or not the octane rating of the
  21    gasoline met that material requirement. In this case, the government contracted
  22    to have a competent substantive review of veterans’ medical records and claim
  23    files followed by a physician’s independent medical opinion as to whether or
  24    not that file represented a certain potential eligibility for benefits. Just as the
  25    claims for payment for nonconforming gasoline were false, here the claims for
  26    non-conforming reviews were false.
  27        These obvious examples precisely describe the Relator’s allegations
  28    concerning the scheme and its plausibility under the FCA. The contract
                                                   PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1    requirements, together with the readily applicable regulatory guidance and VA

   2    requirements, more than adequately spelled out the substantive reviews

   3    required by QTC and the standards to apply to those reviews. As a result of the

   4    schemes described in the SAC, QTC submitted claims to the VA in deliberate

   5    ignorance and reckless disregard of whether those claims represented a

   6    properly completed substantive review of a veteran’s claim file. The schemes

   7    described herein are supported by factual allegations and observations by

   8    Relator garnered during the course of his employment with Defendant.

   9
  10                                           V.
  11                RELATOR’S SECOND AMENDED COMPLAINT
                    MEETS THE PLEADING REQUIREMENTS OF
  12
                         RULE 12(B)(6) AND RULE (9)(B)
  13
  14        Counts I and II More Than Adequately Meet the "Who, What, When,
  15    Where, and How" pleading requirement of Rule 9(b) and state a claim for
  16    relief under Rule 12(b)(6).
  17            1. WHO? Nehmer team leaders, Beronica Ramos, Ms. Felishka Ashley

  18      (Project Supervisor), Dr. Harry Eisenbach (Physician Reviewer), Frenorgin
  19      Ubungen (Vice President of Operations at QTC Management), Jason Seibel
  20      (CEO, QTC Management), Mary Ann Umali-Abitria, (Senior Quality
  21      Assurance Monitor), Kerrie Schuster (Ethics Officer at Lockheed Martin),
  22      Donna Brown (HR Director for QTC Management), and Ms. An Tanag
  23      (Team Mentor).
  24                           SAC Paragraphs 17, 38, 68, 70, 73, 75, 77, 80, 81, 83
  25            2. WHAT? QTC created and implemented schemes to knowingly and
  26
        intentionally submit false claims without regard to whether the underlying
  27
        services were substantively performed as required. The result was deliberate
  28
        disregard of the material requirements of the contract, with claims submitted
                                                PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1    with factual falsity, and in reckless disregard and deliberate ignorance of

   2    whether or not the actual reviews underlying those claims complied with the

   3    contractual and regulatory requirements of the contracts. All such

   4    representations, statements, records, and certifications were material

   5    prerequisites to the entitlement to payment from the VA.

   6                                  SAC Paragraphs 2-6, 38, 39, 84,97, 98,106, 107

   7            3. WHEN? During the course of the Nehmer reviews commencing
   8      (pursuant to the Contract [SAC Exhibit 1]) in August 2012 and continuing
   9      through the Peripheral Neuropathy Review (Summer 2015).
  10                                                              SAC Paragraphs 35 – 37
  11            4. WHERE? Lockheed Martin’s facilities in Diamond Bar, California.
  12                                                                   SAC Paragraph 16
  13            5. HOW?
  14               a. Advertising for and hiring physician reviewers based on the
  15      promise of easy money and hiring claims file analysts not qualified by
  16      education or training to perform the contractually required tasks
  17                                                              SAC Paragraphs 51 - 53
  18
                    b. Failing to provide adequate training to claims file analysts on
  19
          recognizing the possibility of an informal or inferred claim, on the
  20
          substantive medical data or records or substantive aspects of evidence of the
  21
          diseases under consideration, how symptoms may appear, what conditions
  22
          may be “similar to” those conditions, or how to recognize them.
  23
                                                                 SAC Paragraphs 55,56
  24
                   c. Failing to provide resources or guidance specifically provided by
  25
          the VA and the references specifically identified in the VA Checklists (e.g.,
  26
          VA training letter 10-04, “Nehmer Training Guide For QTC”), and failing to
  27
  28
                                                 PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1      provide clinical resources to aid in the determination of a manifestation [not

   2      "diagnosis"] of the relevant conditions.

   3                                                      SAC Paragraphs 44, 56, 58- 60

   4               d. Creating internal guidance for use by claims file analysts that
   5      contradicted and overrode the actual guidance produced by the Veterans
   6      Administration.
   7                                                              SAC Paragraphs 61-65
   8               e. Failing to monitor any performance of material elements of the
   9      contract, including, but not limited to, the actual review of the medical record
  10      and claims file. Establishing a reward and performance monitoring system
  11      solely focused upon numbers and speed. QTC emphasized, rewarded, and
  12      required only the speed of the “closure” of a chart (review completion and
  13      closure in the computer system).
  14                                                              SAC Paragraphs 61 – 65
  15
  16                                            VI.
  17                RELATOR HAS PROVIDED AMPLE EXAMPLES OF THE
  18                  SCHEME IN OPERATION FROM WHICH TO INFER
                               DEFENDANTS’ LIABILITY.
  19
  20            In addition to the evidence of “who, what, when, where and how,”
  21      Relator has also provided examples of the of the Defendants’ actions to
  22      perpetrate the scheme and the inevitable results of the scheme. These include
  23      each of the following categories:
  24
  25
                 A. AFFIRMATRIVE STEPS TO HIDE NON-PERFORMANCE
  26
                QTC ignored, threatened, and eventually terminated employees for
  27
        continuing to internally raise issues, through appropriate channels, concerning
  28
        this contractual non- performance.
                                                 PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1                                                             SAC Paragraphs 45-46

   2               B. CLAIMS FOR SERVICES WERE SUBMITTED
   3              The completion of the computer entries transferred the file
   4    electronically to the QTC billing office or billing function, for transmittal to
   5    the VA.
   6                                                                SAC Paragraph 49
   7
                  C. EVIDENCE OF THE SCHEME’S OPERATION AND
   8
                  RESULTS
   9
                  (1) Claims file analysts purported to “review” up to 38 charts per day
  10
          and physicians to sign off on over 60 files per day.
  11
                  (2) Ten to fifteen accidently mixed-up case assignment sheets had
  12
          attached incorrect/non-matching checklists. In the pursuit of speed without
  13
          any consequence for deficient accuracy, all were signed by physician
  14
          reviewers without even noticing the checklists they were signing did not
  15
          relate to the claims file attached to them.
  16
                  (3) June, 2014: Three cases with accompanying claim files each
  17
        totaling in excess of 2,500 pages, were all signed and returned to the Relator
  18
        by the physician reviewer in less than 10 minutes (Inference: Physician
  19
        reviewer could not have substantively reviewed these files).
  20
                  (4) August, 2014: Claim file containing nearly 2,500 pages or 10
  21
        inches of paper equivalent, which took Relator 4 hours to complete, was signed
  22
        off by Physician reviewer in five minutes.
  23
                  (5) At least 184 charts were returned to QTC by the VA within a 4-
  24
        month period where the checklists had been signed as completed yet material
  25
        blocks on the checklist were not even marked or filled out.
  26
                  (6) Specific examples:
  27
  28
                                                  PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1                      (i) Of the six examples discussed by Relator in the SAC, one-

   2    third of them contained an affirmative declaration of the absence of any

   3    evidence of relevant conditions in the claim file:

   4                            “No medical evidence received showing ASHD

   5                            prior to the date of the claim establishing

   6                            entitlement. No evidence of PD or BCL found

   7                            during this review.”

   8                            “No medical evidence received showing any

   9                            Coronary Artery Disease prior to the date of the

  10                            claim establishing entitlement of 8/07/2006 - No

  11                            evidence of PD /B cell/ HCL found during this
  12                            review.”
  13               These material declarations were factually false. They
  14      were made to support the conclusion that no referral was necessary.
  15
  16                      (ii) Six veterans' files: Each file contains a complete
  17    description of relevant facts from which a strong and reasonable inference can
  18    be drawn that the file should have been referred to the VA for further claim
  19    development and adjudication.
  20                            (A) Veteran D.J.B. The physician reviewer and CFA
  21    ignored a Cardiology consult, performed by the VA itself, on 10/09/2003, as
  22    reviewable evidence for an earlier effective date for heart disease as a now-
  23    primary condition (rather than as merely secondary to diabetes).
  24
                                (B) Veteran D.A.V. This veteran was service
  25
        connected for Atherosclerotic Heart Disease secondary to Diabetes II with an
  26
        effective date of 08/21/2002.The evidence shows the physician reviewer and
  27
        CFA ignored heart-related workups previously received by the VA on
  28
                                                 PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1    01/19/1993, as reviewable evidence for an earlier effective date for heart

   2    disease as a now-primary condition (rather than as merely secondary to

   3    diabetes). The physician review also falsely affirmatively stated in Question 7

   4    narrative that “No medical evidence received showing ASHD prior to the date

   5    of the claim establishing entitlement. No evidence of PD or BCL found during

   6    this review. ” This statement was factually false.

   7                             (C) Veteran J.R.M. This veteran was service

   8    connected for Coronary Artery Disease status post stent effective 03/31/2006.

   9    But the Veteran had records showing “chest pain that comes and goes, will last

  10    for 30 seconds” since 02/21/1981. The physician reviewer also stated that that

  11    there “was no medical evidence received showing any evidence of Coronary
  12    Artery Disease” prior to this time. This statement was factually false.
  13                             (D) Veteran N.E.P. This veteran was service
  14    connected for Coronary Artery Disease effective 09/14/2012. However, there
  15    is evidence clearly also showing symptoms of Parkinson’s disease. The veteran
  16    filed a claim for Parkinson's disease in 2012, but the VA rating decision denied
  17    service connection for Parkinson’s disease (likely because Parkinson's disease
  18    was not, at that time a "presumptive condition"). The QTC reviewers missed
  19    the evidence and failed to refer it to the VA for re-adjudication.
  20
                                 (E) Veteran E.L.I. This veteran was service connected
  21
        for Coronary Artery Disease, secondary to Diabetes with an entitlement
  22
        effective January 10, 2008. Defendants acknowledge that QTC "may have
  23
        made an error" in this review, but dismiss it as a simple mistake rather than as
  24
        evidence when, taken in context with the other evidence in the SAC, is highly
  25
        suggestive of a reckless disregard for the substantive contract performance.
  26
  27                             (F) Veteran G.A.R. Defendants claim that there was

  28     no diagnosis of Coronary Artery Disease prior to 2006. However, there is
                                                 PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1     evidence consisting of a diagnostic imaging report in 1999 with a report

   2     showing an overall "diagnostic impression" of atherosclerotic heart disease,

   3     signed by a radiologist MD at a VA hospital. The failure of the QTC review

   4     and report is further exemplified by the statement in the QTC checklist, signed

   5     by the reviewing physician that there was “no medical evidence received

   6     showing any Coronary Artery Disease prior to the date of the claim

   7     establishing entitlement of 8/0712006 - No evidence of PD /B cell/ HCL

   8     found during this review.” This statement is factually false.

   9                                 SAC Paragraphs 67, 69, 70, 85, 86, 87, 88, 94, 95

  10         As can readily be seen, Relator has met his pleading burden under Rules
  11    12(b)(6) and 9(b). Defendants' arguments are based on technical disagreements
  12    with the interpretation of evidence and whether Relator has met an evidentiary
  13    burden, not a pleading burden. Defendants' Motion should be denied in its
  14    entirety.
  15                                           VII.
  16         RELATOR SHOULD BE ALLOWED TO FILE AN AMENDED
  17            COMPLAINT SHOULD THE COURT BE INCLINED
                     TO GRANT DEFENDANTS' MOTION
  18
  19
            Despite Defendants' protestations that the subject complaint is the third one
  20
        filed by Relator, and despite Defendants' "strawman" raising of issues
  21
        concerning no-longer-operative pleadings, this is the first instance in which
  22
        Defendants have been required to respond to this case in any way. There has
  23
        been no burden on Defendants from this case until this Second Amended
  24
        Complaint and this motion.
  25
            As the Ninth Circuit has consistently observed, leave to amend should be
  26
        granted unless the district court "determines that the pleading could not
  27
        possibly be cured by the allegation of other facts." Lopez v. Smith , 203 F.3d
  28
                                                 PLAINTIFF'S MEMORANDUM IN OPPOSITION TO MOTION
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   1    1122, 1127 (9th Cir. 2000) (internal quotation marks and citations omitted).

   2    This approach is consistent with Fed. R. Civ. P. 15(a) which provides that

   3    leave to amend should be freely granted "when justice so requires." See Foman

   4    v. Davis, 371 U.S. 178, 182 (1962) (Rule 15(a)'s mandate "is to be heeded.").

   5    See also U.S. ex rel. Lee v. SmithKline Beecham, Inc., 245 F.3d 1048 (9th Cir.

   6    2001).

   7         In assessing whether leave to amend is proper, courts consider "the presence

   8    or absence of undue delay, bad faith, dilatory motive, repeated failure to cure

   9    deficiencies by previous amendments, undue prejudice to the opposing party and

  10    futility of the proposed amendment." Moore, et.al. v. Kayport Package Express,

  11    Inc., et.al. 885 F.2d 531 (9th Cir. 1989). In this case, there has been no undue
  12    delay (or delay of any type), no bad faith, dilatory motive, failures to cure by
  13    previous amendments, certainly no prejudice to any party, and no evidence of
  14    futility of amendment.
  15                                  VIII. CONCLUSION
  16         For the foregoing reasons, Defendants' Motion should be denied in its
  17    entirety. Mr. Vatan also requests leave to amend in the event that the Court is
  18    inclined to dismiss any of the counts. See, Lee, 245 F 3d 25 1048 at 1052-53.
  19
  20    Respectfully submitted,
  21
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  23    ____________________________________
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   1     EISENBERG, GILCHRIST & CUTT, P.C.

   2          /s/

   3    ___________________________________

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